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14
15                             UNITED STATES DISTRICT COURT
16                            CENTRAL DISTRICT OF CALIFORNIA
17
18    BEYOND BUSINESS                        Case No. 8:21-cv-1714
      INCORPORATED, d/b/a BIG FISH
19    BAIT & TACKLE, individually and        COMPLAINT – CLASS ACTION
      on behalf of others similarly
20    situated,                                 1. Violations of the Lempert-Keene-
                                                   Seastrand Oil Spill Prevention
21                  Plaintiff,                     and Response Act, Gov. Code §
                                                   8670, et seq.
22    vs.
                                                2. Violations of Oil Pollution Act,
23                                                 33 U.S.C. § 2701, et seq.
      AMPLIFY ENERGY
24    CORPORATION, d/b/a BETA                   3. Strict Liability for Ultrahazardous
      OFFSHORE, a Delaware                         Activities (Based on California
25    Corporation; BETA OPERATING                  and Federal Law)
      COMPANY, LLC, a Delaware
26    Limited Liability Company; SAN            4. Negligence (Based on California
      PEDRO BAY PIPELINE                           Law)
27    COMPANY, a California Company,
                                                5. Violations of the California
28                  Defendants.                    Unfair Competition Law, Cal.

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 1                                             Bus. & Prof. Code § 17200, et
                                               seq.
 2
                                            6. Negligence Per Se (Based on
 3                                             California Law)
 4                                          7. Negligent Interference with
                                               Prospective Economic Advantage
 5                                             (Based on California Law)
 6
                                           DEMAND FOR JURY TRIAL
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 1                                 I      INTRODUCTION
 2           Plaintiff BEYOND BUSINESS INCORPORATED, d/b/a BIG FISH BAIT &
 3   TACKLE, individually and on behalf of all others similarly situated, allege the
 4   following against AMPLIFY ENERGY CORPORATION (“AEC”) d/b/a BETA
 5   OFFSHORE, BETA OPERATING COMPANY, LLC (“BOC”), and SAN PEDRO
 6   BAY PIPELINE COMPANY (“SPBPC”) (collectively “Defendants”). The following
 7   allegations, where applicable, are based upon personal knowledge, information and
 8   belief, and the investigation and research of counsel.
 9                            II    NATURE OF THE ACTION
10           1.    On Saturday October 2, 2021, at 2:30 a.m., an alarm sounded on the Elly
11   oil platform, which is positioned roughly eight and one-half miles off the Orange
12   County, California coastline. The alarm, designed to alert a 24-hour surveillance
13   crew member(s) of low-pressure in the 41-year-old, 17.5-mile-long San Pedro Bay
14   crude oil pipeline (“San Pedro Bay Pipeline”)1, went unnoticed or disregarded. Not
15   until 6:01 a.m. did Elly shutdown the flow of toxic crude oil through the 16-inch
16   diameter San Pedro Bay Pipeline. The damage had already been done. By 6:01 a.m.,
17   up to 130,000 gallons, over 3,100 barrels, of toxic crude oil were estimated to have
18   been released into the Pacific Ocean at a point roughly four and one-half miles
19   offshore of the pristine beaches of Southern California. By Saturday evening and into
20   early Sunday morning of October 3, 2021, toxic crude oil washed ashore in
21   Huntington and Newport Beach.
22           2.    AEC, the owner and, through BOC and SPBPC, operator of Elly and the
23   San Pedro Bay Pipeline, failed to alert the United States Coast Guard (“Coast
24   Guard”) of the marine environmental crisis until 9:07 a.m. on Saturday, October 2,
25   2021. What makes this failure evening more alarming, many in the surrounding area
26   recognized a problem long before the Defendants. On Friday October 1, 2021,
27   residents of the local beach communities began to smell oil in the air. The crew of at
28
     1   The San Pedro Bay Pipeline is formally known as Pipeline P00547.
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 1   least one commercial vessel noticed an oil slick on the water in the San Pedro Bay at
 2   6:13 p.m. and notified the National Response Center (“NRC”) at 8:22 p.m. As the
 3   commercial vessel made its observations, satellite imagery, at 7:00 p.m. on Friday
 4   October 1, 2021, identified a three-mile-wide oil “anomaly” in the San Pedro Bay.
 5   The National Oceanic and Atmospheric Administration (“NOAA”), upon receipt of
 6   this information, notified the Coast Guard of the anomaly at 2:06 a.m. on Saturday
 7   October 2, 2021.
 8          3.     That “anomaly” became a nightmare for the citizens and wildlife that
 9   claim the Orange County coast as their home. The toxic crude oil covered the
10   Huntington and Newport Beach coastline by end of day on Sunday October 3, 2021,
11   leaving coastal waters, beaches, animals, and State Marine Conservation areas
12   devastated by petroleum. This tragic reality is but the beginning, as the original
13   8,320-acre oil slick has broken up, with large swaths traveling southward down the
14   coast, closing beaches, waterways, fishing grounds, and marine operations within
15   every mile.
16          4.     The fate of Orange County, California, a tourism powerhouse,
17   responsible for billions of dollars in revenue from those destined to experience the
18   rich beach culture and way of life in Southern California, is now polluted. People
19   from all over the world travel to Huntington Beach, Newport Beach, Laguna Beach,
20   and Dana Point to enjoy and appreciate the diverse animal life, beach and ocean
21   activities, five-star restaurants with freshly-sourced seafood, and small-business
22   pleasures, to name a few. These attractions form the backbone of the local economies
23   and some may feel the impact of this crisis for years to come. For those that call the
24   Orange County coast their home, livelihood, and refuge, they have been significantly
25   harmed.
26          5.     This crisis, an all but familiar reminder of the 2015 Santa Barbara oil
27   spill, could have been avoided. The San Pedro Bay Pipeline, positioned in a heavily-
28   trafficked area of the San Pedro Bay, laid open to the elements and external forces
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 1   with no regard for the real possibility that any manipulation of the pipeline,
 2   intentional or otherwise, could not be detected by the Defendants. Rather than
 3   burying the pipeline in the heavily-trafficked area—as is the case for the miles of
 4   pipeline leading to their pump station—or at least generating a monitoring plan that
 5   could readily identify such an event in a short period of time, Defendants chose to
 6   remain ignorant. As a result, damage to Defendants’ San Pedro Bay Pipeline
 7   occurred and went unnoticed, at a minimum, or ignored, at worst, for days, if not
 8   months. Simply put, Defendants’ monitoring system, manual and otherwise, was
 9   recklessly inept.
10          6.     Defendants’ failure to detect, notify, and respond to the oil leak turned
11   what could have been a painful, but manageable event, into marine environmental
12   crisis. Defendants’ oil system, with only two means of electronically sensing a
13   potential crisis—pressure and flow changes within the pipeline—was woefully
14   insufficient for the high-consequence area in which they were operating. Worse,
15   when the surrounding community knew of the imminent crisis, Defendants
16   purportedly did not. When observers of satellite imagery over San Pedro Bay knew
17   of the imminent crisis, Defendants purportedly did not. When Elly’s own monitoring
18   system knew there was a problem, Defendants purportedly did not. Defendants
19   purportedly knew nothing until hours after the crisis had already unfolded, despite
20   having crew who staff the Elly control room 24-hours a day and are guided by their
21   own Oil Spill Prevention and Response Plan (“OSPRP”)2 which explicitly provides:
22   “In General – For Spill Response – Do Not Delay. Plan Ahead. Over respond
23   and stand down if necessary. Do not get behind the curve.” (Emphasis added.)
24          7.     Plaintiff brings this action pursuant to Federal Rules of Civil Procedure,
25   Rule 23 on its own behalf and as representatives of those similarly situated to recover
26
27   2Beta Unit Complex, Oil Spill Prevention and Response Plan, Apr. 2012,
     https://www.bsee.gov/sites/bsee.gov/files/oil-spill-response-plan-osrp/inspection-
28   and-enforcement/beta-operating-company-osrp-april-2012.pdf [last visited Oct. 10,
     2021].
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 1   the inevitably substantial economic losses they have incurred and will continue to
 2   incur as a result of Defendants’ reckless oil spill.
 3                            III   JURISDICTION AND VENUE
 4          8.     This Court has subject matter jurisdiction of this action pursuant to 28
 5   U.S.C. § 1332 of the Class Action Fairness Act of 2005 because: (i) there are 100 or
 6   more Class members, (ii) there is an aggregate amount in controversy exceeding
 7   $5,000,000, exclusive of interest and costs, and (iii) there is minimal diversity
 8   because at least one member of the class of plaintiffs and one defendant are citizens
 9   of different States.
10          9.     Jurisdiction of this Court also exists pursuant to 28 U.S.C. § 1331
11   because the claims asserted by Plaintiff arises under federal law. This court has
12   supplemental jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.
13          10.    This Court has personal jurisdiction over Plaintiff because Plaintiff
14   resides in this District and submits to the Court’s jurisdiction. This Court has
15   personal jurisdiction over Defendants because they conducted and continue to
16   conduct substantial business in the District, and because they have committed the acts
17   and omissions complained of herein in the District, including the commission of the
18   Huntington Beach Oil Spill.
19          11.    Venue is proper in this jurisdiction pursuant to 28 U.S.C. § 1391(b)
20   because a substantial part of the events, omissions, and inactions giving rise to
21   Plaintiff’s claims occurred in this District, and because Defendants discharged crude
22   oil onto the beaches of and conduct business in Orange County.
23                                       IV     PARTIES
24          Plaintiff
25          12.    Plaintiff BEYOND BUSINESS INCORPORATED, d/b/a BIG FISH
26   BAIT & TACKLE, is California corporation located in Seal Beach, California.
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 1          Defendants
 2          13.    Defendant AEC is a Delaware corporation with its principal place of
 3   business in Houston, Texas. AEC owns and operates the Elly oil platform and San
 4   Pedro Bay Pipeline through its subsidiaries, Defendant BOC and Defendant SPBPC.
 5   Martyn Willsher serves as the Chief Executive Officer for all three entities.
 6          14.    Defendant BOC, a Delaware limited liability company with its principal
 7   place of business in Houston, Texas.
 8          15.    Defendant SPBPC, a California company with its principal place of
 9   business in Houston, Texas.
10          16.    Defendants own and/or operate the Beta Unit Complex—Platforms Elly,
11   Ellen, and Eureka, and the San Pedro Bay Pipeline—and are responsible for the
12   production, processing, and transportation of crude oil along the Orange County,
13   California coast through that oil system.
14                            V     GENERAL ALLEGATIONS
15          The Rich and Unique Character of the Orange County Coastal
16          Communities
17          17.    From Seal Beach down to San Clemente, the coastal regions of Orange
18   County offer beautiful and pristine beaches to residents and travelers from all over
19   the world. Residents and visitors pay a premium to live in and travel to these
20   stunning areas for the opportunity to appreciate and take advantage of the beaches,
21   waters, and views. Throughout the year, residents and visitors are able to, and do,
22   utilize the beach communities for entertainment, such as family outings or surfing
23   events; recreation, such as kayaking, surfing, sailing, boating, or biking; fine dining
24   and tasting local seafood; and experiences, such as whale and dolphin watching,
25   fishing excursions, and sunset cruises. (See Images 1-3 on next page.)
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           Image 1, Huntington Beach,    Image 2, Dana Point,         Image 3, Newport Beach,
 7           Courtesy of Willyou.net    Courtesy of Trip Advisor     Courtesy of The Travel Mag.

 8
 9             18.     The Orange County tidepools, wetlands, and coastal waters, offer an
10     abundance of diverse animal life, from fish and birds, to lobsters and sea lions. The
11     Talbert Marshlands, for example, a critical link in migratory bird routes, is home to at
12     least 90 species of shorebirds.3 Tidepools, flourishing with everything from star fish
13     and crabs to sea urchin and snails, provide a glimpse into the delicate ecological
14     balance of the coast. The coastal waters, a draw for enumerable reasons, are flush
15     with various fish species—e.g., surf perch, corbina, and halibut—and other marine
16     life—e.g., killer whales, humpback whales, sharks, and seals.
17             19.     More than merely an outlet for a breathtaking experience, the Orange
18     County coast is a source of work and income for thousands of people. Huntington
19     and Newport Beach alone generate roughly two billion dollars yearly from visitors,
20     which, in turn, supports thousands of jobs within those communities. Businesses—
21     such as beach events, restaurants, hotels, retail stores, harbor tours, and niche
22     boutiques, to name a few—are the backbone of the coastal economy. Fishers,
23     including those who catch or harvest fish and/or shellfish along the Orange County
24     coast, are a vital community component. This group, who source local businesses and
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26
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       3 Cal Matters, A Rare Ecological Gem is Slicked with Spilled Oil – Again, Oct. 5,
28     2021, https://calmatters.org/environment/2021/10/california-oil-spill-talbert-marsh/
       [last visited Oct. 13, 2021].
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 1     beyond with fresh seafood, is dependent on the availability of all types of sea life,
 2     such as sea bass, sculpin, tuna, halibut, yellowtail, lobsters, and more.
 3            The Elly Oil-Processing Platform and San Pedro Bay Pipeline
 4            20.    AEC, through BOC, owns and operates the Elly oil-processing platform,
 5     which is situated in 255 feet of water. The platform sits above the Beta Field, an oil
 6     reserve, roughly eight and one-half miles offshore off the north Orange County coast.
 7     AEC also owns the two neighboring oil-producing platforms, Ellen and Eureka, that
 8     interact with Elly. (See Image 4.) The oil system is referred to at the Beta Unit
 9     Complex.
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20                                    Image 4, Elly Oil Platform,
                                     Courtesy of Los Angeles Times
21
22            21.    Elly is connected to the Beta Pump Station in Long Beach, California by
23     the seventeen and a half-mile long San Pedro Bay Pipeline, (see Image 5 on next
24     page), which AEC owns and operates through SPBPC. Elly and the San Pedro Bay
25     Pipeline were constructed in 1980. Elly controls the flow of crude oil harvested from
26     the seventy oil wells in the Beta Field through the 16-inch diameter San Pedro Bay
27     Pipeline. The pipeline is a mix of concrete and steel. The exterior of the pipeline
28     consists of a .375-inch-thick concrete casing. The interior of the pipeline consists of a
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 1     .500-inch-thick, X-42 grade carbon steel line pipe (“X-42 Pipe”). Prior to the rupture,
 2     the San Pedro Bay Pipeline was reported to be operating at approximately 300-400
 3     pressure per square inch gauge (“psig”).4
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24                                    Image 5, Beta Unit Complex

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27     4U.S. Dept. of Trans. Pipeline and Hazardous Materials Safety Admin., Corrective
       Action Order, CPF No. 5-2021-054-CAO, Oct. 4, 2021,
28     https://www.phmsa.dot.gov/sites/phmsa.dot.gov/files/2021-
       10/Beta%20Offshore%20CAO.10.04.2021.pdf [last visited on Oct. 13, 2021].
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 1            22.    Per Defendants’ own records, they were producing roughly 3,600 barrels
 2     (151,200 gallons) of oil per day in the second quarter of this year, making it the
 3     second largest offshore oil-producer in California.5 To put this number into
 4     perspective, if the “best-case scenario” of 30,000 gallons of crude oil was spilled over
 5     two days during this disaster, that would mean a reduction of at least 10% production
 6     per day over those two days. If the number of days of the leak is doubled to four,
 7     Defendants would have experienced a 5% reduction in their daily production. In a
 8     “worst-case scenario” of 130,000 gallons of crude oil spilled, the numbers
 9     dramatically rise to 43% and 21.5% respectively. Which begs the question: how
10     could the Defendants have failed to notice such a non-trivial, at a minimum, or
11     significant, at worst, drop in their own production numbers? Worse, how could the
12     Defendants have failed in such an alarming fashion in the high-consequence area of
13     the Orange County coast?
14            23.    The Defendants were required to have, and purportedly did have,
15     sensors to monitor irregularities and/or failures in the transportation of crude oil
16     through the San Pedro Bay Pipeline.6 In fact, according to two former employees, the
17     Defendants purportedly had software “made specifically” for the platforms in order
18     to monitor the status of pressure at pumps along the pipeline,” utilizing sensors
19     within the San Pedro Bay Pipeline.7 Sensors were utilized to measure the pressure
20     within the San Pedro Bay Pipeline. But it was not just the pressure within the system
21     that the Defendants claimed to monitor, but also flow rate. Per their OSPRP, under
22     the heading “Leak Detection System,” “Alarms are initiated if volume balance
23     discrepancies vary beyond specific short-term and long-term limits.”8
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       5 Reuters, Despite Preparation, California Pipeline Operator May Have Taken
26     Hours to Stop Leak, Oct. 8, 2021, https://www.reuters.com/business/energy/despite-
       preparation-california-pipeline-operator-may-have-taken-hours-stop-leak-2021-10-
27     08/ [last visited Oct. 13, 2021] (“Reuters”).
       6 Id.
28     7 Id.
       8 See OSPRP, fn. 2.
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 1              24.   Defendants’ oil system purportedly did not incorporate any other means
 2     of sensing irregularities or failures, such as exterior thermal changes or acoustic or
 3     vibration anomalies, to name a few. Meaning, unless the pressure or flow within the
 4     San Pedro Bay Pipeline changed to a sensor-triggering degree, Defendants’ software
 5     security measure was incapable of identifying any irregularity or failure within their
 6     own system. Putting aside the oil system’s non-human “safeguards,” Defendants
 7     purportedly had human operators in place, who manned the Elly control room 24-
 8     hours a day and were trained to identify any and all problems related to an oil spill
 9     crisis, as a check on the system. According to a former employee who is familiar with
10     the Defendants’ oil system, if operators “detected a single barrel [loss], the pipeline
11     should have been shut.”9
12              25.   According to Willsher, Defendants monitored the San Pedro Bay
13     Pipeline on a weekly basis. If true, this necessarily means that Defendants would
14     and/or should have been aware of a significant relocation of a section of pipeline
15     along the ocean floor, for example. Defendants, by their own account, were
16     completely unaware of such a significant alteration in the San Pedro Bay Pipeline.
17              Defendants’ Knew of the Monumental Risks Associated with Their
18              Ultrahazardous Activities
19              26.   In 2019, Defendants, through an Environmental Assessment (“EA”),
20     titled Beta Unit Geographical Survey, were made acutely aware of the hazardousness
21     of their activities in the Beta Field. Under the heading “Hazardous Materials/Risk of
22     Upset,” Defendants are notified that the area of their oil system is “utilized for
23     recreational, industrial, and commercial purposes.” The EA goes on to state: “The
24     primary statutes, regulations, plans, and policies relevant to the Project that address
25     potential risk of upset related to hazardous materials is provided” below. What
26     follows is a list of major international, federal, and state regulations designed to keep
27     the public and environment safe.
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       9   Reuters, fn.5.
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 1             27.   Defendants’ activities were not limited to the Beta Field nine miles
 2     offshore, however, which in itself is an elevated risk, but traversed directly into and
 3     along the Orange County coastal communities. Miles of the San Pedro Bay Pipeline,
 4     including the location of the purported oil spill, are less than five miles off the
 5     Orange County coast. The last two miles are directly within and under the City of
 6     Long Beach, through “piers G and H.”10 There can be little doubt that the
 7     transportation of crude oil through the San Pedro Bay Pipeline carries with it
 8     extraordinary risks to the safety of the general public and economic welfare of the
 9     surrounding communities. In fact, the San Pedro Bay Pipeline traverses a High
10     Consequence Area (“HCA”), pursuant to 49 C.F.R. § 195.450, and an unusually
11     sensitive ecological area, pursuant to 49 C.F.R. § 195.6.
12             28.   The OSPRP explicitly states: “The San Pedro Bay Pipeline . . . is
13     considered to be capable of causing significant and substantial harm to the
14     environment in the event of a discharge of oil because of its proximity to navigable
15     waters and adjoining shoreline areas designated as environmentally sensitive . . . .” 11
16             29.   Defendants did not need to be told that their operations presented
17     significant safety and economic risks to the local communities. It was obvious. As
18     discussed above, (see Section V A.), the Orange County coastal community was
19     home to a diverse animal population, sensitive ecological preserves, and businesses
20     and events that cater to every means of enjoyment and livelihood one can imagine.
21     Defendants merely had to look out their front door to understand this reality.
22             Defendants’ Oil Spill Prevention Plan and Responsibilities12
23             30.   The Defendants’ April 2012 OSPRP begins with a very direct
24     punctuation of the danger their activities pose. The OSPRP provides: “A worst-case
25     crude oil release from the DOT-regulated San Pedro Bay Pipeline could potentially
26
27
       10   OSPRP, fn. 2.
28     11   Id.
       12   OSPRP, fn. 2.
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 1     cause significant and substantial harm to the environment, as defined in the Oil
 2     Production Act of 1990 . . . .” And further makes the point that:
 3                    These response guidelines are not intended to supplant the
                      use of common sense or actions not specifically mentioned
 4                    in this plan, but necessary to mitigate a problem. Depending
                      on the incident, each response may require different or
 5                    modified approaches or sequences of events to reach the
                      primary objective of the [Defendants]; that is, to ensure the
 6                    safety of life, protection of the environment, and protection
                      of property.
 7
 8              31.   The OSPRP goes on to identify the potential victims of a worst-case
 9     crude oil release, noting: 1) “[n]earby population center”; 2) “[p]roperties at risk
10     (marines, beaches, harbors, parks)”; 3) “[e]conomic and cultural resources”;
11     4) “[b]iological resources (e.g., sensitive habitats, commercial and recreational
12     fish/shellfish stocks, wildlife, plant life)”; and 5) “[o]ther marine dependent uses.” To
13     prevent the potential devastating impacts to these victims of an oil spill, a “[n]o
14     response option (i.e., mechanical or non-mechanical) should be ruled out in
15     advance.”13 The importance of effective responses to the immediate detection of an
16     oil spill is compounded by the fact that spills originating from the oil system “can
17     present challenges to response and recovery efforts due to obstacles and proximity to
18     bodies of water. In General – For Spill Response – Do Not Delay. Plan Ahead.
19     Over respond and stand down if necessary. Do not get behind the curve.”
20     (Emphasis added.)14
21              32.   The OSPRP provides that a worst-case scenario of an oil spill is 3,111
22     barrels, which is the equivalent of 130,662 gallons. According to Willsher, the San
23     Pedro Bay Pipeline, from end-to-end, is capable of holding 126,000 gallons of crude
24     oil.15
25
26     13 Id.
       14 Id.
27     15 NBC News, Oil Spill Off California Coast Closes Pipeline, Prompts Warnings of
       Ecological Disaster, Oct. 3, 2021, https://www.nbcnews.com/news/us-news/major-
28     cleanup-operation-launched-after-oil-slick-detected-southern-california-n1280638
       [last visited Oct. 13, 2021].
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 1            33.    Critical to the matter at hand, the OSPRP specified the precise “Leak
 2     Detective System” utilized by the Defendants. The Beta Unit Complex purportedly
 3     incorporates a working “automated” system that “continuously monitors” the San
 4     Pedro Bay Pipeline. In the event of an irregularity or “any anomalies,” the control
 5     room, “staffed 24 hours/day,” is required to report its observations immediately.
 6     (Emphasis added.) The lead detection system, which monitors the “flow difference
 7     between inlet and outlet, . . . will consider generating a leak alarm when the test
 8     statistic reaches a certain limit (the alarm threshold).”16 The pertinent threshold
 9     being: “1%” of “nominal flow” change over the course of “50 min.”17 Further, this
10     analysis is based upon an “observed flow rate of 260 bbls/h,” or 6,240 barrels
11     (262,080 gallons18) of oil per day. Meaning, unless the system detects a “nominal
12     flow change” of 1% of 217 barrels (9,114 gallons) per 50 minutes—21.7 barrels or
13     911 gallons per 50 minutes—no alarm goes off.19 To emphasize the point, the system
14     allows for 20,000+ gallons of crude oil to be leaked per day (15 gallons/minute, 900
15     gallons/hour, 21,600 gallons/day) without Defendants having any clue, potentially.20
16            34.    This creates the even more concerning possibility of a prolonged
17     discharge of 20,000+ gallons of crude oil per day. With a worst scenario—an oil leak
18     falling below the sensor-triggering limit—days, if not months, of leakage can result
19     in significant pollution of the Pacific Ocean and its surrounding communities.
20            35.    The OSPRP further provides: “[s]urveillance of the line with this leak
21     detection system” occurs through the control room, “which is manned 24 hours per
22     day.” Each person in that control room is to be able to “recognize the alarms
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25     16 OSPRP, fn. 2.
       17 Id.
26     18 One barrel of oil is the equivalent of 42 gallons.
       19 OSPRP, fn. 2.
27     20 As the flow of oil through the San Pedro Bay Pipeline was potentially half the
       flowrate of the benchmark amount discussed infra, the even more concerning
28     possibility that Defendants allowed crude oil to leak into the Orange County coastal
       waters for more than a few days emerges.
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 1     generated and respond to each alarm.”21 Should an alarm be triggered, “control room
 2     operators have the ability” to automatically shut down the “shipping pumps” by use
 3     of a “shutdown valve.”22 Such critical responsibilities come with training, and
 4     Defendants “emphasize that, in the event a leak is detected, it is essential to close the
 5     platform and onshore shut-in valves as quickly as possible after shutting down
 6     shipping pumps to minimize the volume of oil released from the line.”23
 7            The Precursor to the Crisis Should Have Been Obvious
 8            36.    During the week of October 4, 2021, investigators discovered a 13-inch,
 9     linear fracture in the San Pedro Bay Pipeline, roughly four-and-a-half miles offshore.
10     (See Image 6 on next page.) Investigators further noted that the 4,000-foot section of
11     the pipeline, where the damage was found, had been moved roughly 105 feet from its
12     original resting point. (See Image 7 on next page.) Investigators now believe the
13     manipulation of the San Pedro Bay Pipeline could have occurred as far back as a year
14     earlier, possibly caused by multiple anchor strikes.24 What is alarming, however, is
15     that Defendants had no ability to identify this significant manipulation of the pipeline
16     and/or recklessly failed monitor, respond to, or notify the appropriate authorities of
17     the event. By all accounts, the force needed to move the 4,000-foot section of
18     pipeline would be significant, begging the question how such an event could occur
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26     21Id.
       22Id.
27     23Id.
       24CNN, Pipeline Crack in California Oil Spill May Have Occurred Up to a Year
28     Ago, Investigators Say, Oct. 8, 2021, https://www.cnn.com/2021/10/08/us/california-
       oil-spill-friday/index.html [last visited Oct. 10, 2021].
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 1     without triggering a single sensor—pressure, flow, or otherwise—or notifying the
 2     Elly control center.
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                                    Image 6, 13-inch Facture
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                                  Image 7, Movement of Pipeline
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 1            37.    Putting aside technology, Defendants’ manual or human detection of
 2     irregularities in the San Pedro Bay Pipeline was nonexistent. Defendants claim they
 3     monitored the pipeline weekly by boat25 and further cleaned the pipeline weekly26.
 4     Given that the resting point the 4,000-foot section of the pipe had been moved 105
 5     feet, (see Image 7), weeks and/or months earlier, as has been acknowledged by
 6     investigators27, Defendants were negligent, at a minimum, or reckless, at worst, in not
 7     identifying and rectifying the precursor to the current oil spill crisis. This is
 8     especially true in light of the fact that the number of large vessels anchored in San
 9     Pedro Bay increased significantly during the ongoing global COVID-19 pandemic,
10     well before this incident occurred.28
11            The Early Warnings of the Oil Spill Crisis
12            38.    At 6:13 p.m., crew from a commercial vessel anchored in the San Pedro
13     Bay noticed a “sheen” of oil on the water. The vessel subsequently reported its
14     findings to the NRC at 8:22 p.m. Around this same period of time, residents of the
15     Orange County coastal communities began to smell oil in the air. In fact, the
16     Huntington Beach Police Department received so many calls about the smell of oil in
17     the air that they put out an advisory to the public about the issue. 29 At 7:00 p.m.,
18     satellite imagery identified a three-mile-wide oil “anomaly” in the San Pedro Bay.
19     NOAA forwarded this information to the Coast Guard at 2:06 a.m. on Saturday,
20
21     25 Reuters, fn. 5.
22     26 WTVA, A Timeline of the California Oil Spill, From the First Report to the Clean-
       Up, Oct. 10, 2021, https://www.wtva.com/templates/AMP?contentID=575498582
23     [last visited Oct. 13, 2021].
       27 NPR, Oil Pipeline Damage May Have Happened Months Before the Massive Oil
24     Spill, Oct. 8, 2021, https://www.npr.org/2021/10/08/1044644445/oil-pipeline-
       damage-may-have-happened-months-before-the-massive-oil-spill [last visited on Oct.
25     13, 2021].
       28 Reuters, Record 60 Cargo Ships Wait to Unload At Busiest U.S. Port Complex,
26     Sept. 15, 2021, https://www.reuters.com/world/us/record-60-cargo-ships-wait-
       unload-busiest-us-port-complex-2021-09-15/ [last visited Oct. 13, 2021].
27     29 Los Angeles Times, The Smell of Oil Wafted in the Air Friday. Why Did it Take
       Another Day to Identify Massive O.C. Spill?, Oct. 3, 2021,
28     https://www.latimes.com/california/story/2021-10-03/why-it-took-a-full-day-to-
       identify-massive-oc-oil-spill [last visited Oct. 13, 2021].
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 1     October 2, 2021. Defendants did not reach out to a single government agency or
 2     environmental protection organization during this time frame.
 3              Defendants Failures on Saturday October 2, 2021
 4              39.   On Saturday, October 2, 2021, at 2:30 a.m., a low-pressure alarm,
 5     signaling a failure in the San Pedro Bay Pipeline, went off. As referenced above, (see
 6     Section V D.), Elly is staffed twenty-four hours a day with operators who purportedly
 7     have the training and experience necessary to understand and execute safety
 8     procedures during an oil spill crisis. This alarm should have triggered immediate
 9     “phone calls to managers, boat crews, regulators, and the U.S. Coast Guard, (see
10     Image 8 on next page), and swiftly set in motion steps to shut down the pipeline and
11     platform that feeds it, according to 10 former and current Beta Offshore employees
12     and contractors . . . .”30 Defendants’ own OSPRP mandates that “In General – For
13     Spill Response – Do Not Delay. Plan Ahead. Over-respond and stand down if
14     necessary. Do not get behind on the curve . . . .”31 (See Section V D., italics added.)
15     But Defendants got well behind the curve before taking any action, let alone realizing
16     there was a crisis unfolding, and failed to follow their own “15-step action plan.”
17     (Id.)
18              40.   At 6:01 a.m. on October 2, 2021, the San Pedro Bay Pipeline was
19     purportedly shutdown. Defendants’ OSPRP emphasizes the critical need for
20     communication upon the occurrence of an extraordinary event, providing: “Effective
21     and efficient communication systems are a central requirement for emergency
22     response at every level.” (Italics added.) Defendants readily admit that they did not
23     communicate to anyone, not only about the failure-sensing alarm, but also the
24     shutdown of their entire system. (See Image 8 on next page.) Defendants did not take
25     a single step to address the oil spill for nearly twenty-four hours after the community
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28     30   See Reuters, fn.5.
       31   Id.
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 1     knew about the crisis and almost seven hours after they were informed of the oil leak
 2     by their own system.
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                                Image 8, Defendants’ OSPRP Initial Notifications
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17            41.    According to Willsher, Defendants were first aware of a possible
18     problem at 8:09 a.m. Saturday morning. Defendants did not, however, immediately
19     notify authorities. Rather, Defendants contacted their crisis response team who, in
20     turn, notified the Coast Guard at 9:07 a.m., over three hours after their entire oil
21     system was shutdown. At first glance, these actions by Defendants were in violation
22     of their own OSPRP. (See Image 8.) The call to the crisis command center should
23     have been third on their list of calls, but was not.
24            42.    Defendants recklessly failed to monitor, manage, and/or assess
25     irregularities and/or failures in the San Pedro Bay Pipeline. Given the range of
26     potential crude oil leaked into the coastal waters of Orange County, California, (see
27     Section V(B)), Defendants’ failure is demonstrated by the OSPRP’s mandate that
28     even “[i]f a very small spill occurs[,] . . . notifications must still be made to NRC, the
                                                      -18-
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 1     US Coast Guard, [and] BSEE . . . .”32 By Defendants’ own admission, they were
 2     incapable of detecting a “very small spill”; in fact, Defendants own OSPRP
 3     guidelines are inconsistent with this mandate—the low-pressure system could not
 4     detect thousands of gallons of crude oil leaked from their own system.
 5             43.     Putting aside technology, Defendants’ failure to notice, until hours later,
 6     that their entire transport system was shut down by 6:01 a.m., is unimaginable. Aside
 7     from Defendants’ failures to acknowledge the low-pressure alarm at 2:30 a.m. on
 8     Saturday, October 2, 2021, or drop in flow rate over the preceding days, if not
 9     months, the Defendants purportedly had no idea that, for over two hours, their entire
10     system was shut down. Two inferences emerge: 1) Defendants were extremely
11     reckless in monitoring their own oil system; and/or 2) Defendants intentionally chose
12     not to alert authorities of the crisis until hours after it began. Either way, Defendants’
13     failed to adhere to their OSPRP, which requires “proper reporting as soon as
14     possible.”33 Even if Defendants were collecting information about the crisis and
15     delayed reporting until they possessed “solid” information, they were still in violation
16     of the OSPRP, which precludes “delay[] by the collection of information for
17     reporting.”34
18             Fallout from Defendants’ Failures
19             44.     The fallout of Defendants’ recklessness was felt almost immediately. By
20     the time Defendants managed to shut down the San Pedro Bay Pipeline on Saturday
21     morning, up to 130,000 gallons of crude oil, over 3,100 barrels, had been released
22     into the Pacific Ocean. (See Images 9 and 10 on next page.) That evening and into the
23     early morning of Sunday October 3, 2021, toxic oil washed ashore in Hunting and
24     Newport Beach. Over fourteen miles of coastline was stained with crude oil. The
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       32   OSPRP, fn. 2.
28     33   Id.
       34   Id.
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 1     environmentally sensitive Talbot Marshlands were contaminated and fish and
 2     wildlife were mired in petroleum.
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                     Image 9, Effects of Oil Spill
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14                                                           Image 10, Effects of Oil Spill
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16            45.    The immediate harm was not limited to the fragile environment along
17     the Orange County coast but reverberated inland. The final day of the fifth annual
18     Great Pacific Airshow, which drew nearly 1.5 million people the day before, was
19     immediately canceled. The event, which was to occur October 1 through 3, 2021,
20     typically generates roughly $68 million dollars for local business from visitors who
21     flock to Huntington Beach for the event.
22            46.    Within days, beaches and coastal waters stretching from Huntington
23     Beach down to Dana Point were closed. Residents and visitors were told to go home
24     and not to access the beaches or waters as a result of the presence of toxic oil leached
25     from the San Pedro Bay Pipeline. Health officials made clear why. The Orange
26     County Health Care Agency explained: “[S]pilled oil can pose a skin contact concern
27     and it contains volatile components that can evaporate in air. . . . Petroleum products
28     contain toxic chemicals . . . [a]nd prolonged exposure with these chemicals may

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 1     cause health issues.”35 The closures affected far more than beach-goers, with nearly
 2     all harbors from Huntington Beach to Dana Point closed and vessel traffic prohibited.
 3            47.    The California Department of Fish and Wildlife (“CDFW”), on October
 4     3, 2021, took further action to protect the community. The CDFW closed all coastal
 5     waters from Huntington Beach to Dana Point, and for six miles offshore, to fishing
 6     and taking of shellfish. On October 5, 2021, the CDFW extended the ban down to
 7     San Clemente. Then, on October 7, 2021, the ban grew even larger, extending to 11
 8     fisheries.36 (See Image 11.)
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23                                    Image 11, Fishery Closures

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25     35 Orange County Health Care Agency, OC Health Care Agency Issues Health
       Advisory for Residents Exposed to Oil Contaminants, Oct. 3, 2021,
26     https://mailchi.mp/ochca/hca-health-advisory-re-oil-spill-10114934 [last visited Oct.
       8, 2021] (“OC Health Advisory”).
27     36 California Department of Fish and Wildlife, Amendment Declaration of Fisheries
       Closure, Oct. 7, 2021, https://socalspillresponse-com-jtti.s3.us-west-
28     2.amazonaws.com/wp-content/uploads/2021/10/07174741/CDFW-Declaration-
       Amendment_2_10.07.21.pdf [last visited Oct. 10, 2021].
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 1            48.    Not only did this ban have an immediate impact on local fishing
 2     activities and the local businesses that benefit from those activities, but it came at a
 3     time when fishing seasons were set to begin or were underway. For example, Spiny
 4     Lobster season was set to begin October 2, 2021, but is now indefinitely banned
 5     along the Orange County coast.37 Apart from those who make their livelihood
 6     utilizing the coastal waters off the Orange County shoreline, restaurants and other
 7     establishments have been forced to find alternative sources of fresh seafood. The
 8     stigma associated with this oil spill crisis on the local seafood industry will almost
 9     certainly affect this region for years to come.
10            49.    By October 8, 2021, the original 8,230-acre oil spill dispersed in various
11     directions and proceeded to make its way south down the California coast. Crude oil
12     continued to wash ashore, stretching as far south as the coastal beaches of Carlsbad
13     and Oceanside, nearly seventy miles from where the toxic oil first infected
14     Huntington Beach. (See Images 12-15 on next page.) By all accounts, large swaths of
15     crude oil remain off the Orange County and Northern San Diego County coast, while
16     the wind and ocean currents drive the crisis further south. During the week of
17     October 4, 2021, states of emergency were declared from the Governor’s Office
18     down to the local levels.38
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       37 California Department of Fish and Wildlife, Current California Ocean Recreational
26     Fishing Regulations – Southern Region, Oct. 4, 2021,
       https://wildlife.ca.gov/Fishing/Ocean/Regulations/Fishing-Map/Southern [last visited
27     Oct. 13, 2021].
       38 CBS News, California Declares State of Emergency in Response to Massive Oil
28     Spill, Oct. 6, 2021, https://www.cbsnews.com/news/california-oil-spill-state-of-
       emergency/ [last visited Oct. 13, 2021].
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 9               Image 12, Effects of Oil Spill                Image 13, Effects of Oil Spill
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                Image 14, Effects of Oil Spill                  Image 15, Effects of Oil Spill
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19            50.    From an environmental standpoint, marine life and the diverse animal
20     populations along the Orange County coast have suffered as well. As of Sunday,
21     October 11, 2021, 58 different species of birds and fish had been affected by the oil
22     spill, reports suggest. This is the harm that can be seen. Oil spills also kill algae,
23     called phytoplankton, which is the beginning of the food chain for numerous marine
24     animals.39 Then, of course, there are the fish or invertebrates that start their lives as
25     larvae, which are “incredibly vulnerable to the effects of oil . . . .”40 As such, when
26
27     39 Vox, Why the Huntington Beach Oil Spill is So Harmful to Wildlife, Oct. 6, 2021,
       https://www.vox.com/down-to-earth/22708654/oil-spills-wildlife-huntington-beach-
28     california [last visited Oct. 13, 2021] (“Vox”).
       40 Vox, fn. 42.
                                                  -23-
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 1     oil permeates the ecosystem in which the larvae begin their maturation, killing off the
 2     young, the numbers of fish or invertebrates may very well dip for years to come.41
 3            51.    The full extent of this environmental crisis is yet to be seen, but its
 4     immediate damage is currently unfolding. Local businesses have seen a dramatic
 5     drop in business due to the reduced visitor foot traffic. For example, those who own
 6     stores related to fishing activities have witnessed their revenue come to a grinding
 7     halt, leaving bills to be paid without a means to do so. Other businesses, in the more
 8     trafficked downtown areas of the Orange County coastal communities, are unable to
 9     draw any shoppers as a result of the widespread closures, with visitors steering clear
10     of the area. Further, the businesses who thrive on ocean activity—e.g., surfing
11     schools or whale watching—are at serious risk of surviving as the oil crisis continues.
12     These are but the tip of the potential economic fallout from Defendants’ actions,
13     inactions, and/or omissions.
14            Defendants’ History of Violations
15            52.    Defendants have a history of non-compliance with regulations. The
16     Bureau of Safety and Environment Enforcement, the federal agency that oversees the
17     offshore oil drilling industry, found 125 incidents of non-compliance by BOC.42 BOC
18     was given warnings fifty-three times, but deemed in violation of regulations seventy-
19     two times. Of the documented violations, seventy-one were “component shut in”
20     violations and one was a “facility shut in” violation. In short, Defendants’ history of
21     noncompliance led to numerous instances where oil production and/or transportation
22     had to be shut down.
23            53.    A “component shut in” violation pertains to a particular piece of
24     equipment or location that is not in accordance with standing regulations and must be
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27     41Id.
       42PBS News Hour, Company Suspected In Oil Spill Had Dozens of Violations,
28     Oct. 4, 2021, https://www.pbs.org/newshour/nation/company-suspected-in-oil-spill-
       had-dozens-of-violations [last visited Oct. 13, 2021].
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 1     shut down until the violation is corrected.43 This type of violation occurs when “it is
 2     determined” that the non-compliance is part of “an unsafe situation or it poses an
 3     immediate danger to personnel or other equipment . . . .”44 A “facility shut in”
 4     violation arises where “the unsafe situation poses an immediate danger to the entire
 5     facility or personnel and the specific equipment or location cannot be shut in without
 6     affecting the overall safety of the facility.”45 Importantly, a “warning” does not
 7     suggest a minor violation; rather, a warning will “normally be issued” in an “after-
 8     the-fact situation where no correction is possible” and a “shut in would serve no
 9     useful purpose.”46
10            54.    BOC received its most recent warning on September 29, 2021, days
11     before, if not during, the immediate oil spill crisis. The details of each violation and
12     warning are unknown at this time.
13            55.    The current oil spill crisis is not the Beta Unit Complex’s first oil spill.
14     In fact, in 1999, one of the crude oil lines connecting Platform Eureka to Platform
15     Elly was “shut in” due to “leakage,” according to the Defendants’ OSPRP.47 This
16     failure caused Platform Eureka to be shut down for nine years. Although unclear
17     whether connected to the Platform Eureka shutdown, in the same year, 2,000 gallons
18     of crude oil was spilled from the Beta Unit Complex into the Pacific Ocean, resulting
19     in a $48,000 fine for the operators.48 More recently, Defendants were fined $85,000
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23     43 Office of Offshore Regulatory Programs, Offshore Safety Improvement Branch,
       National Office Potential Incident of Noncompliance (PINC) List, Sept. 2016,
24     https://www.bsee.gov/sites/bsee.gov/files/office-pincs-final-92016.pdf [last visited
       Oct. 10, 2021].
25     44 Id.
       45 Id.
26     46 Id.
       47 OSPRP, fn. 2.
27     48 California News Times, OC Oil Spill: Oil Rig Operator Waited 3 Hours to Shut
       Off Damaged Pipeline Report Says, Oct. 6, 2021,
28     https://californianewstimes.com/oc-oil-spill-oil-rig-operators-waited-3-hours-to-shut-
       off-damaged-pipeline-report-says/549529/ [last visited Oct. 13, 2021].
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 1     in 2013 and 2014 for three separate incidents, one of which resulted in the release of
 2     oil into the Pacific Ocean.49
 3                              VI     PLAINTIFF’S ALLEGATIONS
 4            56.    Plaintiff BEYOND BUSINESS INCORPORATED, d/b/a BIG FISH
 5     BAIT & TACKLE, is a California corporation located 1780 Pacific Coast Highway,
 6     Seal Beach, California.
 7            57.    BIG FISH BAIT & TACKLE is a landmark in the Seal Beach
 8     community, having begun in the 1960s. BEYOND BUSINESS INCORPORATED is
 9     the third owner in the store’s legacy of owners over the decades.
10            58.    BIG FISH BAIT & TACKLE exists to serve the fishing communities in
11     and about the Orange County coast. The store provides fishing supplies, such as rods,
12     reels, tackle, lures, and other related items.
13            59.    A significant draw to BIG FISH BAIT & TACKLE is the live and
14     frozen bait it supplies. For recreational fishermen, both on and offshore, this live bait
15     is the means to successful fishing in the coastal waters. As live and frozen bait can
16     only be kept for so long, BIG FISH BAIT & TACKLE relied, and continues to rely,
17     on regular customers and foot-traffic in order to avoid the economic loss associated
18     with discarding unpurchased, expired items.
19            60.    As a result of the Defendants’ oil spill, BIG FISH BAIT & TACKLE
20     has seen a dramatic reduction in customers and foot traffic. Beginning Friday
21     October 1, 2021, BIG FISH BAIT & TACKLE’s customer base has dropped 50% or
22     more, year-over-year (from 2020 pandemic levels).
23            61.    Much of the live and frozen bait sold in the store has perished. Given the
24     uncertainty surrounding the oil spill and the indefinite ban on fishing activities, BIG
25     FISH BAIT & TACKLE has been unable to determine how much live and frozen bait
26
27
       49CNN, Operator of Leaking Oil Infrastructure Has Record of Violations, Oct. 4,
28     2021, https://www.cnn.com/2021/10/04/us/beta-operating-company-
       violations/index.html [last visited Oct. 13, 2021].
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 1     to purchase. The problem being that should BIG FISH BAIT & TACKLE choose to
 2     purchase too little, out of an abundance of caution, the business suffers; should it
 3     choose to purchase more than demand supports, the business suffers.
 4            62.    BIG FISH BAIT & TACKLE’s business has suffered and will continue
 5     to suffer. Since Friday October 1, 2021, BIG FISH BAIT & TACKLE has seen its
 6     revenue drop significantly over the ensuing weekends and is lucky if it gets any
 7     business during the week. BIG FISH BAIT & TACKLE had two employees but had
 8     to send them both home due to the economic hardship of the store.
 9            63.    BIG FISH BAIT & TACKLE has and will indefinitely into the future
10     incur unrecouped business expenses, as well as loss of revenue, income, and profits
11     as a result of Defendants’ oil spill.
12            64.    Plaintiff believes the negative consequences of Defendants’ oil spill will
13     continue to impact the Orange County fisheries, and consequently, Plaintiff’s
14     business, for years to come.
15            65.    Defendants’ actions, inactions, and/or omissions have, therefore, caused
16     present injury to Plaintiff, as well as concrete risk of imminent, additional harm.
17                              VII   CLASS ACTION ALLEGATIONS
18            66.    Plaintiff’s claims are made on behalf of itself and all others similarly
19     situated under Rule 23 of the Federal Rules of Civil Procedure.
20            67.    Plaintiff brings this action on its own behalf, and on behalf of a class of
21     similarly situated business, pursuant to Federal Rules of Civil Procedure, Rule 23(a),
22     23(b)(2), and/or 23(b)(3), defined as follows:
23            Class:
24                   All persons or businesses that claim economic losses, or
                     damages to their occupations, businesses, and/or business
25                   property, located along the California coast from Long Beach to
                     Oceanside, California, as a result of Defendants’ October 1,
26                   2020 through October 2, 2021 oil spill from the San Pedro Bay
                     Pipeline (Pipeline P00547), referred to as the Huntington Beach
27                   Oil Spill.
              68.    Excluded from the Class are all (a) officers and directors of the
28
       Defendants; (b) all judges or judicial officers assigned to this matter and their
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 1     immediate family and staff; and (c) any legal representative, successor, or assign of
 2     any excluded persons or entities.
 3            69.    Numerosity: Upon information and belief, the Class is so numerous that
 4     joinder of all members is impracticable. While the exact number and identities of
 5     individual members of the Class are unknown at this time, such information being in
 6     the possession of local and county-level public agencies, for example, and obtainable
 7     by Plaintiff only through the discovery process, Plaintiff believes, and on that basis
 8     alleges, that thousands of injured businesses, property owners, fishers, event
 9     organizers, and employees that are the subject of the Class.
10            70.    Existence and Predominance of Common Questions of Fact and Law:
11     Common questions of law and fact exist as to all members of the Class. These
12     questions predominate over the questions affecting individual Class members. These
13     common legal and factual questions include, but are not limited to, whether:
14                   a.         each is a direct victim of the oil spill caused by the Defendants;
15                   b.         the date the Class members’ injuries began is on the same day
16                              and/or close in time;
17                   c.         Class members reasonably expected Defendants would exercise
18                              the appropriate care in operating the Beta Unit Complex;
19                   d.         Defendants should have discovered, disclosed, and remedied the
20                              cause of the oil spill;
21                   e.         Defendants were negligent in their construction, maintenance,
22                              observations, operation, and/or repairs of the San Pedro Bay
23                              Pipeline;
24                   f.         Defendants’ actions, inactions, and/or omissions were a
25                              substantial factor in causing harm to Class members;
26                   g.         Defendants engaged in ultrahazardous activities in violation of the
27                              OSPRRA;
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 1                   h.         Defendants discharged toxic crude oil into navigable waters off
 2                              the Orange County coast from the San Pedro Bay Pipeline;
 3                   i.         Defendants violated California’s Unfair Competition Law
 4                              pursuant to Business and Profession Code section 17200, et seq.;
 5                              and
 6                   j.         Defendants negligently interfered with Class members’
 7                              prospective economic advantage.
 8            71.    Typicality: Plaintiff’s claims related to the Huntington Beach Oil Spill
 9     are typical of the claims of the Class because Plaintiff began to experience its
10     respective injuries on or about the same time, were directly affected by the oil spilled
11     from the San Pedro Bay Pipeline, and Defendants are responsible to the Plaintiff and
12     Class for the crisis. Furthermore, Plaintiff and all members of the Class sustained
13     monetary and economic injuries including, but not limited to, ascertainable losses
14     arising out of Defendants’ wrongful conduct in failing to detect, correct, and/or notify
15     the public and authorities about irregularities or failures in the San Pedro Bay
16     Pipeline. Plaintiff advances these same claims and legal theories on behalf of itself
17     and all absent Class members.
18            72.    Adequacy: Plaintiff adequately represents the Class because its interests
19     do not conflict with the interests of the Class it seeks to represent, it has retained
20     counsel who are competent and highly experienced in complex class action litigation,
21     and it intends to prosecute this action vigorously. Plaintiff and its counsel are well-
22     suited to fairly and adequately protect the interests of the Class.
23            73.    Superiority: A class action is superior to all other available means of
24     fairly and efficiently adjudicating the claims brought by Plaintiff and the Class. The
25     injury suffered by each individual Class member is relatively small in comparison to
26     the burden and expense of individual prosecution of the complex and extensive
27     litigation necessitated by Defendants’ conduct. It would be virtually impossible for
28     Class members on an individual basis to effectively redress the wrongs done to them.
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 1     Even if Class members could afford such individual litigation, the courts cannot.
 2     Individualized litigation presents a potential for inconsistent or contradictory
 3     judgments. Individualized litigation increases the delay and expense to all parties and
 4     to the court system, particularly where the subject matter of the case may be
 5     technically complex. By contrast, the class action device presents far fewer
 6     management difficulties, and provides the benefits of single adjudication, an
 7     economy of scale, and comprehensive supervision by a single court. Upon
 8     information and belief, individual Class members can be readily identified and
 9     notified based on, inter alia, city and county property records, city and county
10     business records, and other, publicly controlled information.
11            74.    Defendants have acted, and refuse to act, on grounds generally
12     applicable to the Class, thereby making appropriate final equitable relief with respect
13     to the Class as a whole.
14                                 VIII CAUSES OF ACTION
15                                            COUNT I
16     STRICT LIABILITY UNDER LEMPERT-KEENE-SEASTRAND OIL SPILL
17                     PREVENTION AND RESPONSE ACT (“OSPRRA”)
18                                   (Gov. Code § 8670, et seq.)
19                                     (As to all Defendants)
20            75.    Plaintiff incorporates by reference in this cause of action each and every
21     allegation of the preceding paragraphs, with the same force and effect as though fully
22     set forth herein.
23            76.    The OSPRRA provides, in pertinent part: “A responsible party, as
24     defined in Section 8670.3, shall be absolutely liable without regard to fault for any
25     damages incurred by any injured person that arise out of, or are caused by, a[n oil]
26     spill [into or onto marine waters].” Cal. Gov. Code § 8670.56.5(a).
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 1            77.     Defendants are “responsible part[ies],” in that AOC is an “owner” and
 2     BOC and SPBPC are “transporter[s] of oil” as specified under the OSPRRA. Cal.
 3     Gov. Code § 8670.3(y)(1).
 4            78.     The location of the Defendants’ Beta Unit Complex is in “marine
 5     waters,” being that the Pacific Ocean is subject to “title influence.” Cal. Gov. Code
 6     § 8670.3(j).
 7            79.     The San Pedro Bay Pipeline, and the Beta Unit Complex generally,
 8     transports “oil,” which includes “any kind of petroleum, liquid hydrocarbons, or
 9     petroleum products,” such as “crude oil.” Cal. Gov. Code § 8670.3(o).
10            80.     Defendants are subject to strict liability under the OSPRRA for the oil
11     leaked from the San Pedro Bay Pipeline. Defendants do not have a defense under
12     California Government Code section 8670.56.5(b).
13            81.     On Saturday October 2, 2021, and for potentially weeks or months
14     before, Defendants allowed crude oil to be discharged from the San Pedro Bay
15     Pipeline into the coastal waters of Orange County, California. Defendants’ conduct
16     resulted in significant environmental and economic damages to the local
17     communities, which has damaged and will continue to damage Plaintiff and Class
18     members into the future. Plaintiff and Class members bear no responsibility or fault.
19            82.     The OSPRRA allows Plaintiff and Class members to recover an array of
20     damages including, but not limited to: 1) costs associated with damage to natural
21     resources; 2) “economic losses resulting from destruction of or injury to, real or
22     personal property,”; 3) “[l]oss of taxes, royalties, rents, or net profit” associated with
23     harm to real or personal property and natural resources; or 4) “[l]oss of profits or
24     impairment of earning capacity” due to harm of real or personal property or natural
25     resources. Cal. Gov. Code § 8670.56.5(h).
26            83.     Defendants’ actions, inactions, and/or omissions that led to the oil
27     spilled from the San Pedro Bay Pipeline caused the loss and/or impaired the use of
28     property or natural resources the Plaintiff and Class members relied upon for their
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 1     livelihood. Such reliance includes, but is not limited to, coastal marine waters,
 2     beaches, beach front areas, fish and shellfish populations, and harbors, marinas, and
 3     piers.
 4              84.   Because Plaintiff and Class members rely upon natural resources for
 5     subsistence use; Plaintiff and certain Class members have ownership or leasehold
 6     interests in real or personal property damaged by Defendants’ oil spill; Plaintiff and
 7     certain Class members derive at least 25 percent or more of their annual or seasonal
 8     earnings from activities that utilize property or natural resources damaged by
 9     Defendants’ oil spill; and/or Defendants’ oil spill caused a loss of taxes, royalties,
10     rents, and/or net profit due to harm to property or natural resources, Defendants are
11     liable to Plaintiff and Class members under the OSPRRA.
12              85.   The harms and/or losses identified have continued and will continue into
13     the future, resulting in the impairment of earning capacities and lost profits for
14     Plaintiff and Class members. Further, the stigma associated with certain activities,
15     particularly in the fishing industries, will last well beyond the tangible harm.
16                                            COUNT II
17                                OIL POLLUTION ACT OF 1990
18                                     (33 U.S.C. § 2701, et seq.)
19                                      (As to all Defendants)
20              86.   Plaintiff incorporates by reference each and every allegation of the
21     preceding paragraphs, with the same force and effect as though fully set forth herein.
22              87.   The Federal Oil Pollution Act (“OPA”) provides that “each responsible
23     party for . . . a facility from which oil is discharged . . . into or upon navigable waters
24     or adjoining shorelines . . . is liable for the removal costs and damages . . . that result
25     from such incident.” 33 U.S.C. § 2702(a).
26              88.   Pursuant to 33 U.S.C. § 2702(b)(2), damages in the form of injury or
27     harm to “real or personal property,” “subsistence use of natural resources,”
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 1     “revenues” in the form of “net loss taxes, royalties, rents, fees, or net profit shares,”
 2     and “profits and earning capacity” are recoverable.
 3            89.    Defendants are a “responsible party,” as they own and operate the
 4     “pipeline.” 33 U.S.C. § 2701(32)(F).
 5            90.    The San Pedro Bay Pipeline is a “facility” under the OPA, in that it is a
 6     “structure[s], equipment, or device” used for “handling, transferring, . . . or
 7     transporting oil.” 33 U.S.C. § 2701(9).
 8            91.    Defendants “discharged” oil pursuant to 33 U.S.C. § 2701(7).
 9            92.    The Pacific Ocean and Orange County coast are “navigable waters”
10     under the OPA, 33 U.S.C. § 2701(21).
11            93.    Defendants’ actions, inaction, and/or omissions directly led to thousands
12     of gallons of toxic crude oil to be spilled into and upon the navigable waters of the
13     Orange County coast.
14            94.    Plaintiff and Class members have suffered and will continue to suffer
15     injury, economic loss, and loss of profits and earning capacity as a result of
16     Defendants actions, inactions, and/or omissions that led to the oil spill.
17            95.    Defendants are responsible not only for current damages and harm
18     suffered by Plaintiff and Class members, but also future injuries, restoration of
19     environmentally sensitive areas, and losses associated with the stigmatization of the
20     fishing industries.
21                                            COUNT III
22              STRICT LIABILITY FOR ULTRAHAZARDOUS ACTIVITIES
23                                     (Under California Law)
24                                      (As to all Defendants)
25            96.    Plaintiff incorporates by reference each and every allegation of the
26     preceding paragraphs, with the same force and effect as though fully set forth herein.
27            97.    At all relevant times herein, Defendants owned, operated, and
28     maintained exclusive control and authority over the San Pedro Bay Pipeline.
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 1            98.    At all relevant times herein, Defendants were under a continuing duty to
 2     protect Plaintiff and Class members from the harm caused by the oil spill from the
 3     San Pedro Bay Pipeline.
 4            99.    Defendants were engaged in an ultrahazardous activity by transporting
 5     flammable, hazardous, and toxic crude oil through the San Pedro Bay Pipeline. The
 6     hazardousness of the activity was compounded by the poor monitoring and inspection
 7     of the previously damaged pipeline in an area of high consequence.
 8            100. Plaintiff and Class members directly and proximately suffered harm as a
 9     result of Defendants’ transportation through and the subsequent oil spill from the San
10     Pedro Bay Pipeline.
11            101. The harm suffered by Plaintiff and Class members includes, but is not
12     limited to, lost revenue, opportunities, profits, earnings, and earning capacity,
13     damage to their reputations, and associated expenses.
14            102. The harm to Plaintiff and Class members was and is of a nature that
15     should and would have been anticipated by Defendants as a risk of their
16     ultrahazardous activity of transporting toxic crude oil through the San Pedro Bay
17     Pipeline. This is especially true given the proximity of the San Pedro Bay Pipeline to
18     the Orange County coastal community, a High Consequence Area. Further, given the
19     significant increase in the buildup of large commercial vessels in the area,
20     significantly increasingly the likelihood of an anchor entanglement with the San
21     Pedro Bay Pipeline, their ultrahazardous activities required further care and attention.
22            103. Defendants’ operation of the San Pedro Bay Pipeline and the subsequent
23     oil spill was a substantial factor in the harm caused to Plaintiff and Class members.
24            104. Plaintiff and Class members are entitled to recover actual damages
25     under a theory of strict liability.
26            105. Defendants’ actions, inactions, and omissions were carried out with
27     malice, fraud, and/or oppression as discussed herein.
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 1                                           COUNT IV
 2                                         NEGLIGENCE
 3                                      (Under California Law)
 4                                      (As to all Defendants)
 5            106. Plaintiff incorporates by reference in this cause of action each and every
 6     allegation of the preceding paragraphs, with the same force and effect as though fully
 7     set forth herein.
 8            107. Defendants owed a duty to Plaintiff and Class members to exercise
 9     reasonable and ordinary care in scope and course of their activities. See e.g, Cal. Civ.
10     Code § 1708 [“Every person is bound, without contract, to abstain from injuring the
11     person or property of another, or infringing upon any of his or her rights.”]. Such
12     reasonable and ordinary care extended to, but is not limited to, design, construction,
13     operation, maintenance, and/or detection associated with the San Pedro Bay Pipeline,
14     such that the surrounding Orange County coastal communities suffer no adverse
15     effects as a result of Defendants’ actions. The duty discussed herein arose from
16     federal, state and local laws, to name a few, that required Defendants to carry out
17     their activities with respect to the San Pedro Bay Pipeline in a manner that would not
18     harm public health and safety.
19            108. Defendants breached that duty to Plaintiff and Class members by,
20     among other things, failing to install or utilize reasonable safety equipment to prevent
21     a spill—e.g., modern pressure or flow sensors, any acoustic or vibration sensors, or
22     regular satellite imaging—failing to detect and repair the preexisting damage to the
23     San Pedro Bay Pipeline, and failing to promptly respond to, contain, and notify
24     others of the oil spill. Defendants also breached this duty of care by failing to
25     adequately implement safety and pipeline failure protocols within their crew aboard
26     the Beta Unit Complex. Further, Defendants failed to monitor, detect, and/or remedy
27     the precursor damage to the San Pedro Bay Pipeline which led to the oil spill.
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 1            109. Defendants had ample knowledge of the risks associated with their
 2     activities and the care needed to respond to those risks. Had Defendants exercised the
 3     reasonable care expected of and imposed upon them in the construction,
 4     maintenance, detection, and/or repair of the San Pedro Bay Pipeline, they would have
 5     known that the pipeline could lead to an oil spill or otherwise fail, and leak thousands
 6     of gallons of oil into the Orange County coastal waters.
 7            110. As a direct and proximate result of Defendants’ negligence, at a
 8     minimum, and/or recklessness, at worst, Plaintiff and Class members have sustained
 9     damages. The following is a non-exhaustive list of the harm suffered and likely to be
10     suffered into the future:
11                   a.         cancellation of beach events, such as the last day of the Great
12                              Pacific Airshow;
13                   b.         forced closure of water-related businesses, such as surfing,
14                              sailing, and kayaking schools, due to the various city closures;
15                   c.         forced closures of harbor and coastal boat excursions, such as
16                              whale watching or sunset cruises;
17                   d.         cancellation of fishing activities, both from shore and offshore,
18                              caused by the necessary CDFW ban due to the oil spill;
19                   e.         significant reduction of foot traffic (residents and visitors) along
20                              the Orange County coastal communities due to the toxic
21                              environment and closures, which, in turn, significantly
22                              suppressed, and continues to suppress, local business revenues;
23                              and
24                   f.         the overall reduction in revenue to the businesses that rely upon
25                              and support the aforementioned activities.
26            111. The harm suffered will continue to be felt into the future due to the
27     environmentally sensitive location of the oil spill. The environmental impact of the
28     oil spilled from the San Pedro Bay Pipeline has and likely for years will damage
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 1     certain segments of the marine animal populations, such as fish and crustacean whose
 2     existence are significantly impacted by exposure to toxic oil. Not only will the
 3     fishing industries be hard, but so too will the businesses that partner with the fishing
 4     industry.
 5            112. The shear psychological impact associated with an oil spill along the
 6     pristine and widely-utilized Orange County coast will significantly hinder businesses
 7     in the community. The public has already been told to stop eating fish and shellfish
 8     caught in Orange County, for example.50 Regardless of when authorities or Plaintiff
 9     and Class members believe seafood sourced from the Orange County coast is safe for
10     consumption, the general public will be left with a polluted view of fish and shellfish
11     from the affected areas. This will result in downward pressure on the price of fish and
12     shellfish caught along the coast from both businesses who previously sought locally-
13     sourced seafood and the general public. This same stigma extends beyond seafood, as
14     visitors can hardly forget views of the Orange County coast covered in toxic crude
15     oil, inevitably leading to a reduction in foot traffic in the coastal cities.
16                                             COUNT V
17            VIOLATIONS OF CALIFORNIA UNFAIR COMPETITION LAW
18                               (Cal. Bus. and Prof. Code § 17200)
19                                       (As to all Defendants)
20            113. Plaintiff incorporates by reference in this cause of action each and every
21     allegation of the preceding paragraphs, with the same force and effect as though fully
22     set forth herein.
23            114. Defendants’ conduct violated the unfair, unlawful and fraudulent prongs
24     of California’s Unfair Competition Law, under Business and Profession Code,
25     section 17200, et seq. (“UCL”).
26
27     50CBS Los Angeles, Huntington Beach Oil Spill: Public Warned to Avoid
       Consuming Fish, Shellfish Caught in OC, Oct. 4, 2021,
28     https://losangeles.cbslocal.com/2021/10/04/public-warned-to-avoid-consuming-fish-
       shellfish-caught-in-oc-because-of-oil-spill/ [last visited Oct. 13, 2021].
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 1            115. Defendants’ conduct amounted to “unfair” business practices as the
 2     UCL prohibits all wrongful business activities, regardless of the context, including
 3     the present. Defendants’ practices, more importantly, offend established public
 4     policies and are immoral, unethical, oppressive, and unscrupulous. The benefits
 5     Defendants’ will claim to bestow upon the community through their activities in no
 6     way offsets the degree of harm caused by their actions, inactions, and/or omissions.
 7     Defendants’ conduct—the negligent and/or reckless operation, maintenance,
 8     detection, and/or repair of the San Pedro Bay Pipeline—has no utility when
 9     compared to the harm done to Plaintiff and Class members.
10            116. Defendants’ conduct was “unlawful,” in that it violated various statutes
11     and regulations, including, but not limited to: 1) the OSPRRA; 2) the Porter-Cologne
12     Act, Water Code section 13000, et seq.; 3) California Fish and Game Code section
13     5650, et seq.; 4) the Oil Pollution Act; and 5) federal, state, and local oil spill
14     notification laws. See e.g., Cal. Health & Safety Code § 25510(a). Defendants further
15     violated their own OSPRP.
16            117. Defendants’ conduct was “fraudulent” in that their business practices,
17     within the meaning of the UCL, were likely to, and did, deceive reasonable members
18     of the public into believing that Defendants were exercising the proper degree of
19     care, safety, and consideration with respect their activities when, in fact, they were
20     not. Members of the public have been harmed as a result.
21            118. As a direct and proximate cause of Defendants’ fraudulent, unfair,
22     and/or unlawful activities, which led to the San Pedro Bay Pipeline oil spill, Plaintiff
23     and Class members have sustained damages.
24            119. Defendants have also been unjustly enriched as a result of these
25     fraudulent, unfair, and/or unlawful activities and should be required to make
26     restitution payments to Plaintiff and Class members pursuant to California Business
27     and Profession Code sections 17203 and 17204.
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 1            120. Defendants’ actions, inactions, and omissions were carried out with
 2     malice, fraud, and/or oppression as discussed herein.
 3                                            COUNT VI
 4                                    NEGLIGENCE PER SE
 5                                     (Under California Law)
 6                                      (As to all Defendants)
 7            121. Plaintiff incorporates by reference in this cause of action each and every
 8     allegation of the preceding paragraphs, with the same force and effect as though fully
 9     set forth herein.
10            122. At all relevant times herein, Defendants negligently, wantonly,
11     carelessly, and/or recklessly maintained and operated the San Pedro Bay Pipeline.
12            123. Defendants violated several statutes, ordinances, and/or regulations,
13     including, but not limited to: 1) the OSPRRA; 2) the Porter-Cologne Act, Water
14     Code section 13000, et seq.; 3) California Fish and Game Code section 5650, et seq.;
15     4) the Oil Pollution Act; and 5) federal, state, and local oil spill notification laws. See
16     e.g., Cal. Health & Safety Code § 25510(a). Defendants further violated their own
17     OSPRP.
18            124. As a direct consequence of Defendants’ wrongful actions, inactions,
19     and/or omissions addressed herein, Plaintiff and Class members have suffered and
20     will continue to suffer economic harm, injury, and losses.
21            125. Plaintiff’s and Class members’ harm directly results from activities the
22     laws identified above were designed to prevent. Plaintiff and Class members are
23     within the class of individuals the respective laws were designed to protect.
24            126. Defendants’ acts, inactions, and/or omissions were carried out with
25     malice, fraud, and/or oppression as discussed herein.
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 1                                           COUNT VII
 2                   NEGLIGENT INTERFERENCE WITH PROSPECTIVE
 3                                 ECONOMIC ADVANTAGE
 4                                    (Under California Law)
 5                                      (As to all Defendants)
 6            127. Plaintiff incorporates by reference in this cause of action each and every
 7     allegation of the preceding paragraphs, with the same force and effect as though fully
 8     set forth herein.
 9            128. Plaintiff and Class members have existing or prospective economic
10     relationships with residents of Orange County, visitors to Orange County, and other
11     individuals and organizations doing business in and related to Orange County.
12            129. These relationships have a reasonably probable likelihood of resulting in
13     future economic benefits or advantages to Plaintiff and Class members.
14            130. Defendants knew or should have known of these existing and
15     prospective economic relationships.
16            131. Defendants owed a duty to Plaintiff and Class members to avoid
17     negligent or reckless conduct that would interfere with and adversely affect the
18     existing and prospective economic relationships of Plaintiff and Class members.
19            132. Defendants breached that duty to Plaintiff and Class members by, for
20     example, failing to install reasonable safety equipment to prevent such a spill, and
21     failing to promptly respond to and contain the spill.
22            133. Defendants knew and/or should have known that, if they failed to act
23     with reasonable care, the existing and prospective economic relationships of Plaintiff
24     and Class members would be interfered with and disrupted.
25            134. Defendants were negligent and failed to act with reasonable care as
26     discussed herein.
27            135. Defendants engaged in wrongful acts, inactions, and/or omissions as
28     described herein, including, but not limited to, violations of federal, state, and local
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 1     laws that require Defendants to operate its pipeline in a manner that does not damage
 2     public health and safety.
 3            136. As a direct and proximate result of Defendants wrong acts, inactions,
 4     and/or omissions, Plaintiff and Class member have suffered, and will continue to
 5     suffer, economic harm, injury, and loss as described herein.
 6                                      PRAYER FOR RELIEF
 7            WHEREFORE, Plaintiff, prays for judgment against Defendants, and each of
 8     them as follows:
 9            A.     for an order certifying this action as a class action;
10            B.     for an order appointing Plaintiff BEYOND BUSINESS
11                   INCORPORATED, d/b/a BIG FISH BAIT & TACKLE, as
12                   representative of the class and counsel of record as class counsel;
13            C.     permanently enjoining Defendants from operating the San Pedro Bay
14                   Pipeline without adequate safety, detection, and response measures;
15            D.     for appropriate injunctive relief, including public injunctive relief, to
16                   include, not but limited to, an order requiring Defendants to repair and
17                   restore fisheries and habitats affected by the oil spill and the
18                   accompanying reputation of the Orange County, California seafood
19                   industry;
20            E.     for damages and statutory damages in an amount to be proven at trial;
21            F.     for recovery of damages in the form of disgorgement and unjust
22                   enrichment as permitted by applicable laws;
23            G.     for an award of exemplary and punitive damages as permitted by
24                   applicable laws and in an amount to be proven at trial;
25            H.     for treble damages insofar as permitted by applicable laws;
26            I.     for pre-judgment and post-judgment interest on any amounts awarded;
27            J.     for appropriate individual relief as requested above and permitted by
28                   applicable laws;
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 1            K.     for payment of attorneys’ fees and costs as permitted by applicable laws;
 2                   and
 3            L.     for such other and further relief as this Court deems just and proper.
 4
 5     Dated: October 14, 2021                  Respectfully Submitted,
 6                                              /s/ Richard D. McCune
                                                Richard D. McCune
 7
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20                                              Attorneys for Plaintiff and the Proposed Class

21                                 DEMAND FOR JURY TRIAL
22            Plaintiff requests a jury trial on any and all counts for which trial by jury is
23     permitted.
24     Dated: October 14, 2021                  Respectfully Submitted,
25                                              /s/ Richard D. McCune
26                                              Richard D. McCune

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                                                 -42-
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     Case 8:21-cv-01714-DOC-JDE Document 1 Filed 10/14/21 Page 47 of 47 Page ID #:47




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       Class Action Complaint                               Case No.:
